                        IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE
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In re:                                                         : Chapter 11
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PROMISE HEALTHCARE GROUP, LLC, et al., : Case No. 18-12491 (CSS)
                                                               :
                  Debtors.                                     : Jointly Administered
                                                               :
---------------------------------------------------------------x Re: D.I. 37, 257, 296

    SUPPLEMENTAL NOTICE OF POTENTIAL ASSUMPTION AND ASSIGNMENT
          OF BUSINESS CONTRACTS AND RELATED CURE AMOUNTS

       PLEASE TAKE NOTICE that on November 6, 2018, the above-captioned debtors and
debtors in possession (the “Debtors”) filed the Debtors’ Motion for Entry of Orders (I)(A)
Establishing Bidding Procedures Relating to the Sale of Certain of the Debtors’ Assets, Including
Approving a Break-Up Fee and Expense Reimbursement, (B) Establishing Procedures Relating to
the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, Including
Notice of Proposed Cure Amounts, (C) Approving Form and Manner of Notice Relating Thereto,
and (D) Scheduling a Hearing to Consider the Proposed Sale; (II)(A) Approving the Sale of
Certain of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests,
(B) Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired
Leases, and (C) Authorizing Success Healthcare 1, LLC to Grant Liens, and (III) Granting Certain
Related Relief [D.I. 37](the “Sale Motion”).2 In the Sale Motion, Success Healthcare, LLC,

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  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital,
L.L.C. (5340), Promise Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare
Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport,
Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938),
HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179),
Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc.
(8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los
Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc.
(4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562), Promise Hospital of
Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc. (2834), Promise
Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065),
Promise Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752),
Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties,
L.P. (8203), St. Alexius Hospital Corporation #1 (2766), St. Alexius Properties, LLC (4610), Success Healthcare 1,
LLC (6535), Success Healthcare 2, LLC (8861), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC
(4947), LH Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc. (1823), Promise
Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology
Development and Services Company, Inc. (7766). The mailing address for the Debtors, solely for purposes of notices
and communications, is 999 Yamato Road, 3rd FL, Boca Raton, FL 33431.
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  Capitalized terms, unless otherwise defined herein, shall have the meanings ascribed to them in the Sale Motion or
the Bidding Procedures, as applicable.
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Success Healthcare 1, LLC, and HLP of Los Angeles, LLC (collectively, the “Silver Lake
Debtors”) seek authority to, among other things, sell substantially all of their Silver Lake Medical
Center assets (collectively, the “Assets”) free and clear of all liens, claims, encumbrances and other
interests pursuant to sections 363 and 365 of the Bankruptcy Code, following an auction.

        PLEASE TAKE FURTHER NOTICE that, on December 7, 2018, the Bankruptcy Court
entered an order (the “Bidding Procedures Order”) approving (i) L.A. Downtown Medical Center
LLC as the Stalking Horse Bidder (the “Stalking Horse Bidder”) for the Assets and (ii) the bidding
procedures (the “Bidding Procedures”) attached as Exhibit 1 to the Bidding Procedures Order. The
Bidding Procedures set the key dates and times related to the sale of the Assets. All interested
parties should carefully read the Bidding Procedures Order and the Bidding Procedures. To the
extent that there are any inconsistencies between the Bidding Procedures Order (including the
Bidding Procedures) and the summary description of its terms and conditions contained in this
Notice of Potential Assumption and Assignment of Business Contracts, the terms of the Bidding
Procedures Order shall control.

        PLEASE TAKE FURTHER NOTICE that, on December 11, 2018, the Debtors filed the
Notice of Potential Assumption and Assignment of Business Contracts and Related Cure Amounts
[D.I. 296].

       PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bidding
Procedures, an auction (the “Auction”) to sell the Assets will be conducted on January 17, 2019,
starting at 10:00 a.m. (prevailing Eastern Time) at the offices of DLA Piper LLP (US), 1201
North Market Street, Suite 2100, Wilmington, Delaware 19801, or such other location as shall be
timely communicated to all persons entitled to attend the Auction. The Debtors may cancel the
Auction pursuant to the Bidding Procedures.

        PLEASE TAKE FURTHER NOTICE that a hearing will be held to approve the sale(s)
of the Assets to the Successful Bidder(s) (the “Sale Hearing”) before the Honorable Christopher
S. Sontchi, United States Bankruptcy Court for the District of Delaware, 824 Market Street,
Wilmington, Delaware 19801 on February 1, 2019 at 2:00 p.m. (prevailing Eastern Time), or
at such time thereafter as counsel may be heard or at such other time as the Bankruptcy Court may
determine. The Sale Hearing may be adjourned from time to time without further notice to
creditors or parties in interest other than by filing a notice on the Court’s docket for these Chapter
11 Cases or the making of an announcement at the Sale Hearing.

        PLEASE TAKE FURTHER NOTICE that the Silver Lake Debtors have indicated on
Schedule 1 attached hereto a list of the Silver Lake Debtors’ executory contracts and unexpired
leases (collectively, the “Purchased Contracts”), that the Silver Lake Debtors may assume and
assign to the Stalking Horse Bidder, or any other Successful Bidder, along with the cure amounts
that the Silver Lake Debtors believe must be paid to cure all prepetition defaults (in each instance,
the “Cure Cost”). If you agree with the Cure Cost and do not otherwise object to the assumption
and assignment of your Purchased Contract listed on Schedule 1, you do not need to take any
further action.3

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 The Silver Lake Debtors may modify the list of Purchased Contracts that will be assumed and assigned in connection
with the sale of the Assets. In addition, the inclusion of any contract, lease, or agreement on Schedule 1 shall not


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        PLEASE TAKE FURTHER NOTICE that any party seeking to object to (i) the validity
of the Cure Cost provided by the Silver Lake Debtors on Schedule 1, or otherwise assert that any
other amounts, defaults, conditions or pecuniary losses must be cured or satisfied under any of the
Purchased Contracts in order to be assigned to the Successful Bidder(s), (ii) the proposed
assumption and assignment of the applicable Purchased Contract, and/or (iii) the ability of the
Stalking Horse Bidder to provide adequate assurance of future performance, must file an objection
(a “Contract Objection”), which objection must: (a) be in writing; (b) state with specificity the
basis for the objection as well as any Cure Costs that the objector asserts to be due, including each
and every asserted default in the applicable contract or lease (in all cases with appropriate
documentation in support thereof); (c) comply with the Federal Rules of Bankruptcy Procedure
and the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court
for the District of Delaware; and (d) be filed with the Bankruptcy Court and served on the
following parties by no later than 4:00 p.m. (prevailing Eastern Time) on the date that is fourteen
(14) days after the date of service of this Notice of Potential Assumption and Assignment of
Business Contracts (the “Contract Objection Deadline”): (i) counsel for the Debtors, McDermott
Will & Emery LLP, 444 West Lake Street, Chicago, Illinois 60606 (Attn: William P. Smith and
James Kapp; wsmith@mwe.com, jkapp@mwe.com) and DLA Piper LLP (US), 1201 North
Market Street, Suite 2100, Wilmington, Delaware 19801 (Attn: Stuart Brown;
stuart.brown@dlapiper.com); (ii) the Debtors, Success Healthcare 1, LLC, 999 Yamato Road,
Third Floor, Boca Raton, Florida 33431, Attn: Charles Posternack, M.D.; (iii) counsel to the
Stalking Horse Bidder, Valensi Rose PLC, 1888 Century Park East, Suite 1100, Los Angeles,
California 90067 (Attn: Gary F. Torrell, Esq.; gft@vrmlaw.com) and Potter Anderson & Corroon
LLP, 1313 North Market Street, Sixth Floor, P.O. Box 951, Wilmington, DE 19801 (Attn: Jeremy
W. Ryan, Esq.; jryan@potteranderson.com); (iv) counsel to Wells Fargo Bank, National
Association (the administrative agent for the Silver Lake Debtors’ secured lenders and the debtor-
in-possession financing lenders), McGuireWoods LLP, 1251 6th Ave, 20th floor, New York, NY
10020 (Attn: Brian Swett; bswett@mcguirewoods.com) and Richards, Layton & Finger, PA, 920
N King St, Wilmington, Delaware 19801 (Attn: John Knight; knight@rlf.com), (v) counsel for the
Committee, Sills Cummis & Gross P.C., The Legal Center, One Riverfront Plaza, Newark, New
Jersey 07102 (Attn: Andrew H. Sherman, Esq.; asherman@sillscummis.com) and Pachulski Stang
Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, Wilmington, DE 19801 (Attn: Bradford J.
Sandler; bsandler@pszjlaw.com); and (vi) the Office of the United States Trustee for the District
of Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware, 19801 (Attn: Brya
Keilson; Brya.Keilson@usdoj.gov) (collectively, the “Objection Recipients”).

       PLEASE TAKE FURTHER NOTICE that any non-Debtor counterparty to any
Purchased Contract who does not file a Contract Objection by the Contract Objection
Deadline, shall (i) be forever barred from objecting to the Cure Cost set forth on Schedule 1
or asserting or claiming any cure amount (other than the Cure Cost) against the Silver Lake
Debtors or any Successful Bidder(s) and (ii) shall be deemed to have consented to the
potential assumption and assignment of its Purchased Contract to the Stalking Horse Bidder.



constitute an admission by the Silver Lake Debtors that any such Purchased Contract is an executory contract or
unexpired lease within the meaning of Section 365 of the Bankruptcy Code and the Silver Lake Debtors reserve all
rights with respect thereto.
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        PLEASE TAKE FURTHER NOTICE that the deadline for filing an objection to the
assumption and assignment of a Purchased Contract on the basis of a lack of adequate assurance
of future performance of a Successful Bidder other than the Stalking Horse Bidder (an “Adequate
Assurance Objection”) shall be January 18, 2019 at 5:00 p.m. (prevailing Eastern Time) (the
“Adequate Assurance Objection Deadline”). Adequate Assurance Objections, if any, shall be in
writing, filed with the Court and served upon the Objection Notice Parties.

      PLEASE TAKE FURTHER NOTICE that any non-Debtor party to an assumed
Purchased Contract who does not file a timely Adequate Assurance Objection shall be
deemed to have consented to the potential assumption and assignment of its Purchased
Contract to the Successful Bidder(s) and will be forever barred from objecting to such
assumption and assignment.

        PLEASE TAKE FURTHER NOTICE that the hearing with respect to any Contract
Objections and/or Adequate Assurance Objections may be held (i) at the Sale Hearing or (ii) on
such other date as the Court may designate. To the extent the Silver Lake Debtors and non-Debtor
counterparty to a Purchased Contract are able to consensually resolve the Contract Objection or
the Adequate Assurance Objection prior to the Sale Hearing, the Debtors shall promptly provide
notice to Wells, the Committee, the Office of the United States Trustee for the District of Delaware
and the Successful Bidder(s) of such resolution.

        PLEASE TAKE FURTHER NOTICE that this Notice of Potential Assumption and
Assignment of Business Contracts is subject to the full terms and conditions of the Sale Motion,
Bidding Procedures Order and Bidding Procedures, which shall control in the event of any conflict.
The Debtors encourage parties in interest to review such documents in their entirety. Copies of
the Sale Motion, Bidding Procedures and/or Bidding Procedures Order may be obtained by calling
the Debtors’ claims and notice agent, Prime Clerk, at 844-822-9230 (domestic, toll free) or 347-
338-6503 (international), or by visiting https://cases.primeclerk.com/promisehealthcare/.




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Dated: January 7, 2019   DLA PIPER LLP (US)
Wilmington, Delaware
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                         -and-
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                         Special Counsel for the Silver Lake Debtors in
                         Connection with the Sale of the Silver Lake Medical
                         Center




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